Case 3:17-cv-00072-NKM-JCH Document 1088 Filed 09/20/21 Page 1of8 Pageid#: 18021
IN THE UNITED STATES DISTRICT COURT FOR E

WESTERN DISTRICT OF VIRGINIA CLERK'S OFFICE U.S, DIST. COURT

AT CHARLOTTESVILE, VA

+

Charlottesville Division
SEP 20 209

JULIA C. DUDLEY CL
B re

Elizabeth Sines, et al

  

Plaintiffs
V Case No: ¥/17-cv-072
Jason Kessler, et al

Defendants

MOTION IN LIMINE TO EXCLUDE ALL EVIDENCE OF DEFENDANTS’
PERCEIVED BIASES AGAINST THOSE WHO IDENTIFY AS “JEWS" PURSUANT

TO FED.R.EVID. 401, 402, AND 403

Comes now the Defendant, Christopher Cantwell, and, he Moves this Court
In Limine to Exclude at Trial All Evidence Of his or other Defendants’
Perceived Biases Against Those Who Identify As “Jews" Pursuant To Fed.

R.Evid. 401, 402, And 403. In support, he states as follows:

1) Simultaneous with the instant motion, Cantwell has filed a Motion
In Limine For A Determination That Bias Against Those Who Identify
As "Jews" Is Not A Form Of "Class Based Invidiously Discriminatory
Animus" Prohibited By 42 USC §1985(3), and, he hereby incorporates
the arguments of that motion herein. In essence, the Fourth Circuit
has found that bias or animus against those who identify as "Jews"
is not an actionable form of “class based invidiously discriminatory
animus" pursuant to 42 USC §1985(3) or, by extension, 42 USC §1986.

Shaafe Tefila Congregation v Cobb 785 F 2d 523 (4th Cir 1986) rev-

 

ersed on other grounds Shaafe Tefila Congregation v Cobb 107 S$ Ct

2019 (1987).

2) The gravaman of the instant complaint, and, the primary basis for
 

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jurisdiction is hat Can

conspire
fendants to impose the "badges and incidences of slavery" on the

Plaintiffs because of animus he bore against Negroes or Republicans

in violation of US Const Amend XIII. Cantwell is also accused of
conspiring to commit and/or committing various common law torts
such as assault or intentional infliction of emotional distress,
and, is accused of a substantive violation of Va Ann Code §8.01-
42.1(A) against Plaintiff “John=Doe",'a Negro resident of Charlot-

tesville associated with the Antifa domestic terror organization.

Fed.R.Evid. 401 states that "Evidence is relevant if: (a) it has any
tendency to make a fact more or’ Tess probable than it would be with-~
out the evidence." Fed.R.Evid. 402 states in pertinent part that.
"Irrelevant evidence is not admissible." Fed.R.Evid. 403 states that:
"The Court may exclude relevant evidence if-its probative value is
substantially outweighed by a danger of one or more of the following:
unfair prejudice, confusing the issues, misleading the jury, undue

delay, wasting time, or, needlessly presenting cumulative evidence."

Bias against "Jews" is not a form of "class-based invidiously dis-.
criminatory animus" upon which a claim pursuant to 42 USC §1985(3)
or 42 USC §1986 can be based. Shaare Tefila. It is also not an

element of the tort of assault. Carter v Commonwealth 269 Va 44

 

(Ya 2005) (stating the elements of an assault). And, it is not a
necessary element of a claim for intentional infliction of emotion-

al distress. Harris v Kreutzer 271 Va 188 (Vaii2006) (stating the

 

elements of an intentional infliction of emotional distress claim).

Religious animus can be an element of a violation of Va Ann Code
§8.01-42.1(A). And, if it were the motive behind an assault or an
act of intentional infliction of emotional distress, such animus

would be admissible to show the underlying tort. Fed.R.Evid. 401-402.

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intended to proceed on a "willful blindness" theory, while Prince~

Oyibo initially considered a defense of duress. Prince-Oyibo.,;UIt-
mately, neither theory was pursued at trial, and, the District Court
thus. excluded evidence that Prince-Oyibo was subjected to religious
persecution in Nigeria, and, that, as a result, a. public official
“seeking a bribe was an expected thing, not an indication of deeper
fraud. Prince-Oyibo. The Fourth Circuit affirmed, stating that,
though evidence of religious persecution in Nigeria could have been
relevant to certian theories of prosecution or defense, because
those theories were not actually presented, evidence of religious

persecution was not-relevant to.the case at it was tried.

8) Further, evidence that is probative must also not infuse the trial
with unfair prejudice, which is "prejudice ... [that creates] the
possibility that the evidence will excite the jury to make a decision
on the basis of a factor unrelated to the issue properly before it."

Multen v Princess Anne Volunteer Fire Co 852 F 2d 1130 (4th Cir 1988).

 

séiting Pine Crest Preparatory School Inc v Phelan 557 F 2d 407 (4th

 

Cir 1971), 1 d Weinstein & M Bergen Weinstein!s Evidence para 403[03]

 

(1986). Racial and ethnic comments are among those that can cause

such prejudice. "The Supreme Court has Tong made clear that state-

ments that are capable of inflaming juror:.s racial or ethnic prejud-

ices degrade the administration of justice," whether offered in test-

imony or argument. McKiver v Murphy-Brown, LLC 980 F 3d 937 (4th

 

Cir 2020) citing United States v Runyon 707 F 3d 475 (4th Cir~2013),

 

United States v Blankenship 382 F 3d 1110 (11th Cir 2004). Yet, such

 

evidence of class-based animus is admissible when "the use of racial-
ly offensive language by the [defendant] is relevant to whether rac~
ial animus was behind the [alleged tort]." Mullen citing Abasiekang

v City of Shélby 744 F 2d 1055 (4th Cir 1984).

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Plaintiffs and/or caused them emotional distress by either person-
ally or in.conspiracy with others having charged at “John Doe", a
Negro, and/or thrown torches at him because of animus Cantwell bore
towards Negroes and/or Republicans. Sines v Kessler 324 F Supp 3d
765 (WD Va 2018). Cantwell understands that the claims against him
relating to the other two defendants at the statue have been aband-
oned, and, that there is no reasonable allegation that any act Cant-

well took that impacted "Doe" was motivated by animus against "Jews".

Further, Cantwell believes that Plaintiffs will not be able to lay.

_a foundation at trial to support the allegations that he "charged"

any person at the Jefferson statue or that he or any person assaulted
Doe with a tiki torch. Instead, Cantwell believes that video record-
ings of the melee around the Jefferson statue will show that various
members of the Antifa terror organization attacked the march of which
Cantwell was a part, that none of the six Negroes present were in-
volved in the melee, and, that Doe was neither assaulted not impact-
ed by any assault, including by anyone throwing a tiki torch. As a
result, Piaintififis claims against Cantwell recording the Jefferson
statue event will have to focus on Cantwell's use of pepper spray,

and, <.az there will be no foundation for any allegation that Cant-

-well's use of pepper spray was animated: by bias against any class

of person, including "Jews".

The Fourth Circuit has made clear that "relevancy must be determined
in relation to the charges and claims being tried." United States

v Hedgepeth 418 F 3d 411 (4th Cir 2005) citing United States v Prince-

 

Oyibo. 320 F 3d 494 (4th Cir 2003). In Prince-Oyibo, the defendant
in a criminal prosecution was a Nigerian who had obtained a US Visa

illegally by bribing a Nigerian official. The government initially

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Here, there are two problems with introducing any evidence of the?
Defendants', and, particularly Cantweltl's, alleged biases against
those who identify as "Jews". First, bias against "Jews" is not a
proper basis for a claim under 42 USC §1985(3) or 42 USC $1986, and,
the Plaintiffs have been increasingly in their pleadings trying to
cloud the issue in the mind of the Court and the parties by referring
to Defendants' alleged conspiracy as being motivated by bias against
Negroes (or, Republicans, the only other class of person against whom
animus has been found a proper basis of suit). If the Plaintiffs

have been deliberately trying to confuse the Court and the parties

_as to the proper basis of their claims by conflating animus against

"Jews" with animus against Negroes and Republicans, what are they
going to do with a jury? Two, at the actual trial, Plaintiffs are
not going to have any foundation for their claims of substantive
torts, particularly as regards Cantwell, that those torts were driv-
en by animus against "Jews". As such, in the case as it will be
presented to the Court, animus against “Jews" will either not be re-
levant to the claims génerally, or, will] not be relevant to them

as they are actually presented and tried before the Court. Instead,
evidence of this animus will be conflated with the types of animus
that form a proper basis for Plaintiff's claims, and, .this wil]

be done both to inflame the jury and confuse the issues.

As relief, Cantwell asks the Court to make the following rulings:

a) the Plaintiffs shall produce and make available to all parties
copies of all video, audio, and, documentary evidence redacted
as requested, infra, (particularly Cantwell, as he is in prison
and .cannot edit or redact the audio-visual evidence in part-
icular);

b) all statements, images, or, other forms of communication that

are probative of animus against “Jews" but not of animus against

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Case Negroes or Republicans shal be redacted from Wi exhibits. Spec-

ifically, oral comments shall be overwritten with silence, visual

images will be blurred so as to be illegible, and, written documents

shall be redacted with overlaid black rectangles.

c) the material to be redacted shall include all references to
"the Holocaust" or violence that occurred during World War II
but would not include material that does not directly evidence
animus towards "Jews", such as swastikas, pictures of Hitler,
and, the like;

d) the Plaintiffs shall not be permitted to present any expert
witness claiming to be an expert on the subject of animus to-
wards "Jews", including experts on “anti-Semitism", and, spec-
ifically Deborah Lipstedt. (Cantwell intends to make a separ-

ate Motion in Limine regarding Lipstedt's report but cannot now

because he does not have it.);

e) the Plaintiff's expert witnesses on the “White Supremacy Move-
ment" shall not be permitted to discuss animus towards “Jews"
but only animus towards Negroes and Republicans;

f) no witness shall be permitted to testify regarding their person-
al knowledge of anti-Judaic animus, whether expressed at the
events of August 11-12, 2017, or otherwise, including the De-
fendants, and, particularly Jeff Schoep;

g) all adverse inferences and found facts shall be amended in ac-
cordance with this Order so as to exclude any reference to an-
imus against “Jews" or any group other than Negroes and Republ-
icans;

h) that proper jury instructions in accordance with this Order will

be given.

Respectfully Submitted,

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Christopher Cantwell
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CERTIFICATE OF SERVICE

I hereby certify that this Motion in Limine was mailed to the Clerk of
the Court for posting on the Electronic Filing System to which the other

parties are subscribed, ist Class Postage Prepaid, this 7th day of Sept-

ember, 2021.

Christopher Cantwell
USP-Marion

PO Box 1000

Marion, IL 62959
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